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 6   Chrome Hearts LLC
 7
                               UNITED STATES DISTRICT COURT
 8
                            CENTRAL DISTRICT OF CALIFORNIA
 9
10   CHROME HEARTS LLC, a Delaware ) Case No. 2:22-cv-04149-MWF-E
     Limited Liability Company,          )
11                                       ) STIPULATION TO EXTEND TIME TO
                                         ) RESPOND TO INITIAL COMPLAINT
12                      Plaintiff,       ) BY MORE THAN 30 DAYS
                                         )
13                                       )
                 vs.                     ) Complaint served: June 30, 2022
14                                       ) Initial  response date: July 21, 2022
     THE LIMITED COMPANY LLC, a          ) 1 st
                                                extended response date: August 5, 2022
15
     Delaware Limited Liability Company; ) New responseresponse
                                         ) 2    extended            date: August 19, 2022
                                             nd

     and DOES 1-10, inclusive,                             date: September   9, 2022
16                                       )
                        Defendants.      )
17                                       )
                                         )
18
19         Counsel for plaintiff Chrome Hearts LLC (“Plaintiff”) and defendant The
20   Limited Company LLC (“Defendant”) have stipulated to a third extension of time for
21   Defendant to respond to the Complaint. Good cause exists for the extension because
22   the Parties have engaged in settlement discussions that are ongoing. Plaintiff’s counsel
23   and their client representative need additional time to evaluate whether to settle the
24   matter or pursue litigation in light of travel schedules and the information received
25   informally by Defendant regarding the Accused Products. The Parties stipulate, and
26   respectfully request, that Defendant’s new response date be September 9, 2022.
27   ///
28   ///

                                                 1
                        STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
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 1   Dated: August 19, 2022           BLAKELY LAW GROUP
 2
 3                                    By:    /s/ Tara A. Currie__________
                                             Brent H. Blakely
 4                                           Tara A. Currie
                                             Attorneys for Plaintiff
 5                                           Chrome Hearts LLC
 6
 7   Dated: August 19, 2022           McKOWNBAILEY
 8
 9                                    By: __/s/ Aaron M. McKown_________
                                          Aaron M. McKown
10                                        Attorney for Defendant The Limited
                                          Company LLC.
11
12
                                 CERTIFICATE OF SERVICE
13
           I hereby certify that on August 19, 2022, I electronically filed the foregoing
14
     document with the Clerk of the Court using the CM/ECF system, and that I shall serve
15
     a copy of this document as filed on Defendant’s counsel via email on August 19, 2022
16
17   Dated: August 19, 2022                  By: _/s/ Tara A. Currie_
18                                               Tara A. Currie
19
20                                       ATTESTATION
21         I attest that all other signatories listed, and on whose behalf the filing is
22   submitted, concur in the filing’s content and have authorized the filing.
23
     Dated: August 19, 2022                  By: _/s/ Tara A. Currie_
24                                               Tara A. Currie
25
26
27
28

                                                2
                       STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
